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 4   Telephone: (916) 422-4022
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                    )
 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00177-GEB
10                                                  )
                   Plaintiff,                       )   DEFENDANT’S STIPULATION AND
11                                                  )   [PROPOSED] ORDER
            vs.                                     )
12                                                  )   Date: September 29, 2017
     JASON MATECKI,                                 )   Time: 9:00 a.m.
13                                                  )   Judge: Garland E. Burrell, Jr.
14                 Defendant.                       )
                                                    )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for June 23, 2017, is continued to September 29,
18   2017 at 9:00 a.m. in the same courtroom. Defendant is going into a 90-day residential
19   drug rehabilitation facility. Additionally, Defendant needs additional time to prepare for
20   sentencing. Kevin Khasighian, Assistant United States Attorney, and Thomas A.
21   Johnson, Defendant’s attorney, agree to this continuance. The PSR schedule is amended
22   as follows:
23
     Judgment and Sentencing date:                               September 29, 2017
24
25
     Reply or Statement                                          September 22, 2017
26
     Motion for Correction of the Pre-Sentence
27   Report shall be filed with the court and                    September 15, 2017
28   served on the Probation Officer and opposing
     counsel no later than:

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 1
     IT IS SO STIPULATED.
 2
 3
 4   DATED: June 13, 2017                    By:    /s/ Thomas A. Johnson
                                                    THOMAS A. JOHNSON
 5                                                  Attorney for Jason Matecki
 6   DATED: June 13, 2017                           PHILLIP A. TALBERT
                                                    United States Attorney
 7
                                              By:   /s/ Kevin Khasigian
 8                                                  KEVIN KHASIGHIAN
                                                    Assistant United States Attorney
 9
     IT IS SO ORDERED.
10
11   Dated: June 14, 2017
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